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         Sovereign Capital Resources, LLC,
    7   a California limited liability company
    8                       UNITED STATES DISTRICT COURT
    9                FOR THE CENTRAL DISTRICT OF CALIFORNIA
   10

   11   SOVEREIGN CAPITAL                    )    Case No. CV 00-02919 MMM (RCx)
        RESOURCES, LLC, a California         )
   12   limited liability company,           )
                                             )     xxxxxxxxxxxxx
                                                  [PROPOSED]
   13                                        )
                                             )    RENEWAL OF JUDGMENT BY
   14         Plaintiff / Judgment Creditor, )    CLERK
                                             )
   15                                        )
                                             )
   16         vs.                            )
                                             )
   17                                        )
                                             )
   18   ARMSTRONG SQUARE LIMITED )
        PARTNERSHIP, a Maine limited         )
   19   partnership; ARMSTRONG SQUARE )
        LLC, a Maine limited liability       )
   20   company; LANDMARK ILLINOIS           )
        LLC, an Illinois limited liability   )
   21   company; LANDMARK AMERICA )
        LLC, a Maine limited liability       )
   22   company; K&B PROPERTIES, L.L.C., )
        a Pennsylvania limited liability     )
   23   company; and PAMELA W.               )
        GLEICHMAN, an individual,            )
   24                                        )
                                             )
   25                                        )
              Defendants / Judgment Debtors. )
   26                                        )
                                             )
   27                                        )
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    1         Based upon the Application for Renewal of Judgment of the original
    2   judgment (dkt 66) entered 11/28/2001 and Renewal of judgment entered Nunc Pro
    3   Tunc on 11/11/2011 (dkt 94), Judgment is entered in favor of Plaintiff/Judgment
    4   Creditor SOVEREIGN CAPITAL RESOURCES, LLC, a California limited
    5   liability company, and against Defendants/Judgment Debtors ARMSTRONG
    6   SQUARE LIMITED PARTNERSHIP, a Maine limited partnership; Armstrong
    7   Square LLC, a Maine limited liability company; LANDMARK ILLINOIS LLC, an
    8   Illinois limited liability company; LANDMARK AMERICA LLC, a Maine limited
    9   liability company; K&B PROPERTIES, L.L.C., a Pennsylvania limited liability
   10   company; and PAMELA W. GLEICHMAN, an individual.
   11         Renewal of money judgment
   12         a. Total Judgment                                 $    642,051.58
   13         b. Costs after judgment                           $         00.00
   14         c. Subtotal (add a and b)                         $    642,051.58
   15         d. Credits                                        $         00.00
   16         e. Subtotal (subtract d from c)                   $    642,051.58
   17         f. Interest after judgment (See Ex. G and
                 various other places in Application for
   18            Renewal of Judgment)                           $    165,171.47
   19         g. Fee for filing renewal application             $         00.00
   20         h. Total renewed judgment (add e, f and g)        $    807,223.05
   21

   22          November 10, 2021
        Dated: _______________                  DEPUTY CLERK:             __________
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